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bocarrasco47@outlook.com

From:                 Bryce Carrasco
Sent:                 Wednesday, September 1, 2021 7:25 PM
To:                   Moffet, Brian L.
Cc:                   Bailey, Elizabeth
Subject:              FW: December 20, 2017 Board Meeting
Attachments:          Bylaws Redline April 20 2018 (amending 2017 bylaws).pdf


FYI –

See below. I sent this email to Rene Jones, Laura O’Hara, Richard Gold and Marie King. Kevin Pearson should also be on
notice.

Let me know if you guys might have information responsive to my questions raised below. I am struggling to understand
how Rene Jones was appointed as Chairman of the Board and CEO just three days after Robert Wilmers died
unexpectedly. In addition, Richard Gold was appointed to the board of directors on the same day, thereby expanding the
number of directors on the board of M&T Bank Corporation, which would typically require a shareholder vote from my
understanding. I could be missing something, however.

Please advise if that is the case.

Thanks,

Bryce Carrasco
Cell: 410‐858‐7432
Email: bocarrasco47@outlook.com

From: Bryce Carrasco
Sent: Wednesday, September 1, 2021 5:10 PM
To: ir@mtb.com
Cc: rjones@mtb.com; lohara@mtb.com; rgold@mtb.com; mking@mtb.com
Subject: December 20, 2017 Board Meeting

Dear M&T Bank,

I would like to request a copy of voting record for the “joint meeting” of the “Boards of Directors” of M&T and M&T
Bank on December 20, 2017. See Form 8‐K, signed by Laura O’Hara.

I am unable to find the shareholder vote on this resolution. Through what authority or procedural mechanism were
Rene Jones and Richard Gold appointed to the board of directors? From my understanding, the election of directors falls
squarely within the purview of the shareholders of the company.

The by‐laws were subsequently amended and restated on April 17, 2018, and I have attached the redline of the changes
which were instituted.

It does not appear that a shareholder vote took place, but I may be missing something here. Please advise.

Thanks,

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Bryce Carrasco
Cell: 410‐858‐7432
Email: bocarrasco47@outlook.com




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